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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                                                     4:24MJ3090
                      Plaintiff,                     4:24CR177

       vs.

JOHN TRAVIS FISHER
                                                              Magistrate Judge DeLuca
                      Defendant.


                                         RULE 5 ORDER

        An Indictment and Warrant (charging document) having been filed in the Western District
of Missouri, charging the above-named defendant with 18:1959 and the defendant having been
arrested in the District of Nebraska, proceedings to commit defendant to another district were
held in accordance with Fed.R.Cr.P. Rule 5. The defendant had an initial appearance here in
accordance with Fed.R.Cr.P.5 and was informed of the provisions of Fed.R.Cr.P.20.

       Additionally, defendant

 ☐      Was given an identity hearing and found to be the person named in the
        aforementioned charging document.

 ☒      Waived an identity hearing and admitted that he/she was the person named in the
        aforementioned charging document.

 ☒      Waived his right to a preliminary examination.

 ☐      Was afforded a preliminary examination in accordance with Fed.R.Cr.P.5.1 and, from
        the evidence it appears that there is probable cause to believe that an offense has
        been committed and that the defendant committed it.

 ☒      The government did move for detention.

 ☐      Knowingly and voluntarily waived a detention hearing in this district and reserved
        his/her right to a detention hearing in the charging district.

 ☒      Was given a detention hearing in this district.


       Accordingly, it is ordered that the defendant is held to answer in the prosecuting district.

☐       Defendant has been unable to obtain release under the Bail Reform Act of 1984, 18
        U.S.C. § 3141 et.seq. and the U.S. Marshal is commanded to take custody of the
        above named defendant and to transport the defendant with a certified copy of this
        order forthwith to the prosecuting district specified above and there deliver the
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       defendant to the U.S. Marshal for that district or to some other officer authorized to
       receive the defendant, all proceedings required by Fed.R.Cr.P.40 having been
       completed.

☒      Defendant has been released in accordance with the provisions of the Bail Reform Act
       of 1984, 18 U.S.C. § 3141 et.seq. The defendant is to appear before the district court
       of the prosecuting district at such times and places as may be ordered. All funds, if
       any, deposited on behalf of this defendant with the Clerk of Court pursuant to the Bail
       Reform Act, shall be transferred to the prosecuting district.


      IT IS SO ORDERED.

      DATED: August 19, 2024.




                                                    s/ Jacqueline M. DeLuca
                                                    U.S. Magistrate Judge
